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                   EXHIBIT D
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 2 of 67 PageID# 121


   From:           Beth Berman
   To:             heathersanto@adr.org
   Bcc:            Elaine Hogan; JJ Jacobson-Allen; jschwartz@gibsondunn.com; jmrdjenovic@gibsondunn.com;
                   bmiller@seyfarth.com; pbannon@seyfarth.com; lporter@littler.com; sbehnia@littler.com
   Subject:        Family Dollar arbitration demands
   Date:           Monday, September 23, 2019 4:56:16 PM
   Attachments:    image001.jpg


   Ms. Santo,

   Thank you for your call last Friday and for providing your contact information.

   I wish to confirm a few things about our conversation to be sure I correctly understood what
   we discussed. As an initial matter, you advised me that Warren Postman told you on
   Friday, September 20th, that he wished to go ahead with prosecuting 970 arbitration
   demands filed by him against Family Dollar. I advised you that more than 100 of those
   demands were for individuals whom we were not able to identify as having worked for
   Family Dollar and that I wished to reach out to Mr. Postman regarding them before
   proceeding. You asked that I copy you on my correspondence to Mr. Postman so that you
   could confirm that I had reached out to him. By now, you should have received my email to
   Mr. Postman.

   When I asked you about how the AAA handles mass arbitrations, among other things, you
   advised that the AAA recommends that the parties agree to arbitrate the cases on a state
   by state basis and use test cases as they go but that Mr. Postman had not agreed to such a
   process. You also told me that the AAA is handling a mass filing involving 380 separate
   arbitrations and in that case the arbitrations are currently being scheduled to occur in 2021.
    Finally, you also said that the AAA was working on creating a fee structure for mass
   arbitrations and that you expected it would be published soon but you could not say exactly
   when that would be. Until such time as that fee schedule is published, the AAA will
   continue to charge its published single arbitration fees even in the case of mass
   arbitrations.

   If you believe I have misconstrued anything in the foregoing, please advise.

   Sincerely,
   Beth Hirsch Berman




   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 3 of 67 PageID# 122
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 4 of 67 PageID# 123


   From:          Beth Berman
   To:            AAA Heather Santo
   Bcc:           JJ Jacobson-Allen; Elaine Hogan; Sara Rafal; jschwartz@gibsondunn com; jmrdjenovic@gibsondunn.com; pbannon@seyfarth.com; bmiller@seyfarth.com;
                  lporter@littler.com; sbehnia@littler.com
   Subject:       RE: I received your voicemail
   Date:          Friday, September 27, 2019 2:45:56 PM
   Attachments:   image002.jpg
                  image004.png
                  image006.jpg


  Ms. Santo,

  As I shared with you when we spoke last Friday, and then by copying you on my email to Mr. Postman last Monday, we
  are trying to work through some logistics with Keller Lenkner. Toward that end, Mr. Postman and I have engaged in
  additional correspondence and our dialogue is continuing. Thus it would be premature to move forward with
  processing any of the arbitration demands at this time.

  Also, although Mr. Postman provided additional information regarding 52 people who were on our original list of
  unidentified individuals, we continue to be unable to identify some of them as ever having worked for Family Dollar.
    Furthermore, of those we did identify, some agreed to arbitrate their claims before JAMS rather than the AAA.

  Earlier this week, Mr. Postman sent us copies of approximately 992 more demands that he asserts were filed with the
  AAA and to which we assume you are referring below. We are working to identify who among that group did and did
  not work for us. To expedite that process, we requested that Keller Lenkner provide us with a list of all the new
  demands along with other information that would help determine whether or not the claimants were Family Dollar
  employees. Mr. Postman declined to provide that information. As a result, we are forced to go through a more
  arduous time-consuming process to try to identify the claimants. That process has not been completed and, at this
  time, we do not know who among the 992 individuals worked for Family Dollar.

  In addition, the demands do not comply with the AAA Rules’ requirement that the individual initiating arbitration set forth
  a “statement of the nature of the dispute” and “the amount in controversy.” R. 4(b)(i)(1). Instead, the demands
  expressly decline to specify an amount in controversy, and each includes the same boilerplate allegation that fails to
  provide Family Dollar with any, let alone sufficient, notice of the underlying factual basis for the claims. This is not a
  mere procedural technicality, as without this information Family Dollar is severely prejudiced. The parties expressly
  agreed that any arbitration before the AAA would proceed under AAA Rules. Just as you advised me that the AAA had
  to enforce all its rules, excusing Keller Lenkner from complying with AAA’s published rules not only would violate both
  the letter and the spirit of the arbitration agreements, but would also show favoritism to Keller Lenkner at Family
  Dollar’s expense.]

  Accordingly, we believe it is inappropriate to proceed until all the foregoing issues have been resolved.

  Sincerely,
  Beth Hirsch Berman




  Respectfully,
  Beth Hirsch Berman
  Deputy General Counsel, Litigation
  Dollar Tree
  500 Volvo Parkway
  Chesapeake, VA 23320
  Direct Dial: (757) 321-5966
  Fax Number: (757) 321-5949
  bberman@dollartree.com



  From: AAA Heather Santo [mailto:heathersanto@adr.org]
  Sent: Friday, September 27, 2019 9:58 AM
  To: Beth Berman <bberman@dollartree.com>
  Subject: RE: I received your voicemail

  Ms. Berman,
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 5 of 67 PageID# 124
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 6 of 67 PageID# 125


   From:                   Beth Berman
   To:                     AAA Heather Santo
   Bcc:                    William Old; Elaine Hogan; Sara Rafal; JJ Jacobson-Allen; jschwartz@gibsondunn.com; jmrdjenovic@gibsondunn.com; lporter@littler.com;
                           sbehnia@littler.com; pbannon@seyfarth.com; bmiller@seyfarth com
   Subject:                RE: Family Dollar Arbitrations - Scheduling administrative conference call
   Date:                   Wednesday, October 2, 2019 12:06:04 PM
   Attachments:            image010.jpg
                           image011.png
                           image012.jpg
                           image001.jpg
                           image002.png
                           image003.jpg


  Ms. Santo,

  I do not understand why the answer to my question would be part of a conference call with opposing counsel. You
  specifically told me that the AAA has to enforce its rules as published so as to maintain its position as a neutral. I am
  merely asking whether the AAA is going to enforce all of its published rules, including Rule 4 b. (ii). The information
  that is required to be included in a demand for arbitration that has been omitted is purely within the claimants’
  knowledge (i.e., how many hours they allege they worked off the clock, the circumstances under which such work
  occurred etc.).   Thus, there is no permissible justification for the omission.

  As Mr. Postman is not part of the AAA, I do not understand why he would be part of the AAA’s decision.

  Sincerely,
  Beth Hirsch Berman



  Respectfully,
  Beth Hirsch Berman
  Deputy General Counsel, Litigation
  Dollar Tree
  500 Volvo Parkway
  Chesapeake, VA 23320
  Direct Dial: (757) 321-5966
  Fax Number: (757) 321-5949
  bberman@dollartree.com



  From: AAA Heather Santo [mailto:heathersanto@adr.org]
  Sent: Wednesday, October 02, 2019 11:37 AM
  To: Beth Berman <bberman@dollartree.com>
  Subject: RE: Family Dollar Arbitrations - Scheduling administrative conference call

  Dear Ms. Berman,

  The inquiry made below will be addressed during the conference call. Could you please provide your availability for a conference
  call tomorrow and copy opposing counsel on your response.

  Thank you,



  Logo            Heather Santo
                  American Arbitration Association

                  1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                  T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                  adr.org  | icdr.org | aaamediation.org

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  From: Beth Berman <bberman@dollartree.com>
  Sent: Wednesday, October 2, 2019 11:02 AM
  To: AAA Heather Santo <heathersanto@adr.org>
  Subject: RE: Family Dollar Arbitrations - Scheduling administrative conference call

    *** External E-Mail – Use Caution ***


  Dear Ms. Santo,

  Thank you for your email and phone call. As my out of office message indicated, I was not working and had no access
  to email the last two days hence the delay in responding. We agree that we should have a phone call to see if we can
  resolve certain issues, but before we do, please let me know what the AAA position is on whether it will follow Rule 4 b.
  (ii) (1) of its Employment Rules which specifies the requirements to initiate arbitration and states that, among other
  things, the Demand to arbitrate: “. . . shall set forth . . . a brief statement of the nature of the dispute; the amount in
  controversy . . .“ Emphasis added. As you know, not a single demand sets forth the amount in controversy.
  Additionally, each demand alleging off the clock work contains boilerplate and identical allegations. The same is true
  for each exemption demand.

  Sincerely,
  Beth Hirsch Berman

  Respectfully,
  Beth Hirsch Berman
  Deputy General Counsel, Litigation
  Dollar Tree
  500 Volvo Parkway
  Chesapeake, VA 23320
  Direct Dial: (757) 321-5966
  Fax Number: (757) 321-5949
  bberman@dollartree.com



  From: AAA Heather Santo [mailto:heathersanto@adr.org]
  Sent: Monday, September 30, 2019 3:47 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Beth Berman <bberman@dollartree.com>
  Cc: Cheryl Florio <Florioc@adr.org>
  Subject: Family Dollar Arbitrations - Scheduling administrative conference call

  Dear Counsel:

  As mentioned to both of you, I think it would be productive to have a joint conference call to discuss some of the issues
  raised.

  Mr. Postman has indicated that he can make himself available anytime tomorrow and I can also make myself available at a
  time convenient for the parties.

  Ms. Berman – please confirm your availability to participate in a conference call tomorrow as soon as possible.

  Thank you.

  Heather Santo



  Logo       Heather Santo
             American Arbitration Association

             1301 Atwood Ave, Suite 211N, Johnston, RI 02919
             T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
             adr.org  | icdr.org | aaamediation.org
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  recipient, please advise by return e-mail and delete immediately without reading, printing, or forwarding to others.
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   From:          Beth Berman
   To:            AAA Heather Santo
   Bcc:           William Old; Sara Rafal; Elaine Hogan; JJ Jacobson-Allen; jschwartz@gibsondunn.com; jmrdjenovic@gibsondunn.com; lporter@littler.com;
                  pbannon@seyfarth.com; bmiller@seyfarth.com
   Subject:       RE: 1,962 Individuals v. Family Dollar
   Date:          Thursday, October 3, 2019 10:21:18 PM
   Attachments:   image002.jpg
                  image004.png
                  image006.jpg


  Ms. Santo,

  Thank you for the opportunity to provide you with additional information on the deficiencies in Keller Lenkner’s filings.
  However, we wish to clarify the procedures that AAA intends to use for resolving these threshold issues before we are
  required to pay what amounts to millions of dollars in administrative fees.

  As you note below, we are continuing the arduous manual process required to determine whether the putative claimants
  were or were not employees of Family Dollar and whether AAA has authority to administer their claims. We are also
  working on identifying which claimants are time-barred. For its part, Keller Lenkner does not dispute that its demands are
  riddled with meritless claims filed on behalf of time-barred individuals or individuals who did not even work for Family
  Dollar. Indeed, they have conveyed to us that they are willing to confer in good faith regarding these issues. But this is not
  enough. Keller Lenkner should have undertaken this inquiry from the outset instead of filing hundreds of patently
  meritless demands and then shifting the burden on Family Dollar to discern which claims are dead at the starting gate.
  While that ship may now have sailed, at a minimum, Family Dollar should be afforded an opportunity to identify and
  eliminate patently frivolous claims before any fees are assessed.

  These are not the only issues with these filings. Indeed, the boilerplate, cut-and-paste “demands” filed by Keller Lenkner
  fail to comply with even the most basic requirements for Demands under the parties’ agreements and the AAA rules. And,
  again, some of these issues are undisputed. The demands on their face decline to comply with the requirement of providing
  an amount in controversy despite the fact that only claimants have knowledge as to how much time they allege to have
  performed work off the clock.

  Although we appreciate the opportunity to provide additional detail about these issues, you have indicated that we will
  nonetheless be responsible for the payment of the filing fee “on each individual case where there is not a challenge that an
  individual was/is employed with Family Dollar.” Because this is only one of many deficiencies that we have identified, we
  are concerned that you may have already prejudged the outcome on our remaining objections. In fact, you have set the due
  date for our filing fees for the same day as Keller Lenkner’s response to our briefing on the deficiencies, indicating that you
  do not intend to resolve these disputes before requiring us to pay the fees. This approach is inconsistent with the AAA
  Employment/Workplace Fee Schedule, which provides that “[t]he employer or company’s share of filing fees is due as
  soon as the employee or individual meets his or her filing requirements.” Empl. Fee Sched. at 2 (emphasis added).

  As a result, we would like to request a full and fair opportunity to be heard on these threshold matters as provided under the
  AAA rules. To that end, we are requesting that you suspend the arbitrary fee deadline set below and refer this issue to the
  Administrative Review Council to determine whether the filing requirements contained in the AAA Rules have been met.

  Sincerely,
  Beth Hirsch Berman



  Respectfully,
  Beth Hirsch Berman
  Deputy General Counsel, Litigation
  Dollar Tree
  500 Volvo Parkway
  Chesapeake, VA 23320
  Direct Dial: (757) 321-5966
  Fax Number: (757) 321-5949
  bberman@dollartree.com



  From: AAA Heather Santo [mailto:heathersanto@adr.org]
  Sent: Thursday, October 03, 2019 10:10 AM
  To: Warren Postman <wdp@kellerlenkner.com>; Sean Duddy <skd@kellerlenkner.com>; Beth Berman
  <bberman@dollartree.com>; AAA Heather Santo <heathersanto@adr.org>
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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 11 of 67 PageID# 130


   From:           Beth Berman
   To:             AAA Heather Santo
   Cc:             Warren Postman; Sean Duddy
   Bcc:            William Old; Sara Rafal; Elaine Hogan; JJ Jacobson-Allen; jschwartz@gibsondunn.com; jmrdjenovic@gibsondunn.com; lporter@littler.com;
                   sbehnia@littler.com; bmiller@seyfarth.com; pbannon@seyfarth com
   Subject:        RE: 1,962 Individuals v. Family Dollar
   Date:           Monday, October 7, 2019 8:53:51 AM
   Attachments:    image001.jpg
                   image002.png
                   image003.jpg


   Ms. Santo,

   Thank you for the opportunity to provide you with additional information on the deficiencies in Keller Lenkner’s filings.
   However, we wish to clarify the procedures that AAA intends to use for resolving these threshold issues before we are
   required to pay what amounts to millions of dollars in administrative fees.

   As you note below, we are continuing the manual process required to determine whether the putative claimants were or
   were not employees of Family Dollar and whether AAA has authority to administer their claims. We are also working
   on identifying which claimants are time-barred. Keller Lenkner has informed us that they are willing to confer in good
   faith regarding these issues. As a result, we believe that it would be in everyone’s best interest for the parties to
   identify and withdraw the demands with these fatal deficiencies before any fees are assessed. Indeed, there can be
   little dispute that this procedure is necessary to avoid the needless waste of resources on facially barred claims.

   As we have previously discussed, the boilerplate, generic demands filed by Keller Lenkner also fail to comply with even
   the most basic requirements for demands under the parties’ agreements and the AAA rules. Some of these issues are
   undisputed. For instance, the demands on their face decline to comply with the requirement of providing an amount in
   controversy despite the fact that only claimants have knowledge as to how much time they allege to have performed
   work off the clock.

   Although we appreciate the opportunity to provide additional detail about these issues, you have indicated that we will
   nonetheless be responsible for the payment of the filing fee “on each individual case where there is not a challenge that
   an individual was/is employed with Family Dollar.” Because this is only one of many deficiencies that we have
   identified, we are concerned that you may have already prejudged the outcome on our remaining objections. In fact,
   you have set the due date for our filing fees for the same day as Keller Lenkner’s response to our briefing on the
   deficiencies, indicating that you do not intend to resolve these disputes before requiring us to pay the fees. This
   approach is inconsistent with the AAA Employment/Workplace Fee Schedule, which provides that “[t]he employer or
   company’s share of filing fees is due as soon as the employee or individual meets his or her filing requirements.” Empl.
   Fee Sched. at 2 (emphasis added).

   As a result, we would like to request a full and fair opportunity to be heard on these threshold matters as provided
   under the AAA rules. To that end, we are requesting that you suspend the arbitrary fee deadline set below and refer
   this issue along with our October 17th filing to the Administrative Review Council to determine whether the filing
   requirements contained in the AAA Rules have been met.

   Sincerely,
   Beth Hirsch Berman



   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com



   From: AAA Heather Santo [mailto:heathersanto@adr.org]
   Sent: Thursday, October 03, 2019 10:10 AM
   To: Warren Postman <wdp@kellerlenkner.com>; Sean Duddy <skd@kellerlenkner.com>; Beth Berman
   <bberman@dollartree.com>; AAA Heather Santo <heathersanto@adr.org>
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   From:           Beth Berman
   To:             AAA Heather Santo
   Bcc:            William Old; bmiller@seyfarth.com; Elaine Hogan; jschwartz@gibsondunn.com; Jmrdjenovic@gibsondunn.com;
                   JJ Jacobson-Allen; pbannon@seyfarth.com; lporter@littler.com; Sara Rafal; sbehnia@littler.com
   Subject:        Keller Lenkner/Family Dollar arbitration demands
   Date:           Wednesday, October 16, 2019 11:52:22 AM
   Attachments:    image001.jpg
                   letter to Heather Santo of AAA regarding filing fees.pdf
                   July 9, 2019 demand letter from Keller Lenkner.pdf


   Please see attached correspondence


   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com
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                                                        October 16, 2019


  VIA ELECTRONIC MAIL

  Heather Santo
  American Arbitration Association
  1301 Atwood Ave, Suite 211N
  Johnston, RI 02919

  Re:    Family Dollar Arbitration Demands

  Dear Ms. Santo:

  Thank you for clarifying that AAA intends to resolve any challenges to the sufficiency of the
  demands before imposing a fee deadline on those demands subject to an objection. As Family
  Dollar has previously discussed with you, and intends to further detail in its October 17
  submission, we believe that each of the boilerplate, generic demands filed by Keller Lenkner is
  facially deficient in several material respects which deprive Family Dollar of fair notice of the
  underlying factual basis for each claimant’s allegations, thereby severely hampering its ability to
  assess the merits of these purportedly individual claims and prepare its defense. But this is not the
  only issue raised by these filings.

  At the outset, we think it important to place this dispute in context. As you are aware, Keller
  Lenkner has filed a total of 1,962 boilerplate demands for arbitration purportedly on behalf of
  current and former Family Dollar employees alleging violations of state and federal minimum
  wage and overtime laws. And it has threatened to file thousands more.

  The manner in which these demands have been filed significantly hampers the ability of the parties
  and the AAA to fairly and efficiently reach the merits of the underlying claims. And that does not
  appear to be the ultimate goal here. Instead, in collecting, holding, and filing these boilerplate
  demands en masse, Keller Lenkner seeks to require the company to pay all AAA fees and costs
  for all demands while simultaneously avoiding the costs associated with performing even minimal
  due diligence on the validity of these claims, as evidenced by the boilerplate demands. In fact,
  almost fifty percent (50%) of the claims are for an amount in controversy that is less than AAA’s
  $2,950 filing and administration fees. Keller Lenkner implements this abusive strategy—which is
  inconsistent with the collective action waivers in the parties’ agreements—by aggregating large
  numbers of claims for filing at the same time in order to exert unwarranted settlement pressure,
  regardless of whether the underlying claims have any merit or value—or indeed, whether they are
  cognizable at all.

  That has been clear from Keller Lenkner’s first communication with Family Dollar, in which
  Keller Lenkner expressly threatened the company with the “high costs of arbitrating this many
  cases” in order to increase the in terrorem value of settlement and evade the parties’ valid

                                                   1
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  agreement to arbitrate these claims on an individual basis and not on an en masse basis. Ex. A.
  (July 9, 2019 letter from Warren Postman). Citing the $2.8 million in initial fees and costs alone
  that Family Dollar would face if half of these claims proceeded to individual arbitration, Keller
  Lenkner proposed exploring an “alternative process” for collectively resolving these claims. Id.
  It threatened that “[t]hese numbers will continue to grow as more Family Dollar employees engage
  our firm every day.” Id.

  As you are further aware, Family Dollar is not the only target of this scheme. Keller Lenker has
  simultaneously sought to initiate tens of thousands of individual arbitrations against Uber
  Technologies, Inc., Lyft, Postmates, Inc., Dollar General, Inc. and others. It strains credulity even
  to suggest that this many individual arbitrations can efficiently and fairly proceed at once.

  It is clear from these facts and our correspondence with Keller Lenkner that AAA is being used as
  an instrument of Keller Lenker’s abusive scheme—one that threatens to nullify the very “virtues
  Congress originally saw in arbitration, its speed and simplicity and inexpensiveness.” Epic Sys.
  Corp. v. Lewis, 138 S. Ct. 1612, 1623 (2018). Indeed, Keller Lenkner’s tactic of filing thousands
  of simultaneous arbitration demands en masse only “makes the process slower, more costly, and
  more likely to generate procedural morass than final judgment.” AT&T Mobility LLC v.
  Concepcion, 563 U.S. 333, 352 (2011). If allowed to go unchecked, this scheme will render
  arbitration as a viable alternative dispute mechanism a dead letter. And that result is bad for
  employees, employers, and our overburdened court system alike. We ask for AAA to provide a
  fair and efficient process for resolving mass arbitrations.

  This is what the parties expected from AAA when signing the arbitration agreements. The AAA
  is the largest private global provider of alternative dispute resolution (ADR) services in the world.
  As your mission statement recognizes, “that comes with enormous responsibility.” See
  https://www.adr.org/mission. In your own words, “[b]ecause it is the most experienced arbitral
  organization, the AAA is able to innovate credibly.” Id. And it has done so in the past by
  developing flexible options to address customer needs and concerns. For instance, we understand
  that AAA has recognized these issues and plans to promulgate a new fee schedule for mass filings
  at some unspecified future date. But, as you may be aware, the actions taken by AAA to date in
  this matter are entirely inconsistent with the positions taken by other arbitration tribunals, and even
  with how AAA has handled mass arbitrations in the past, including by reducing the administrative
  filing fees and staggering their due date. We simply ask that you do the same here.

  We are not asking the AAA to take any extraordinary measures here—although this situation
  would warrant such relief. Instead, all we respectfully ask is that AAA enforce its rules equally
  across all parties, as it has in the past, in a way that was intended by the parties under the arbitration
  agreement. To do otherwise is to enable Keller Lenkner to proceed in a manner that is abusive
  and overreaching, lacks good faith, is neither fair nor efficient, and corrupts a system that has
  effectively served so many in the past.

  To that end, Family Dollar respectfully requests that AAA, as further detailed below:


                                                      2
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  1. Reduce administrative fees to match AAA’s true per claim cost of administration in the mass
     arbitration context (as opposed to individual arbitrations) and avoid a surprising, undue, and
     inequitable outcome for Family Dollar. In many cases, the administrative fee alone is far in
     excess of the amount in controversy.

  2. Work with Family Dollar to establish a reasonable payment schedule that accounts for the
     fact that thousands of individual arbitrations cannot move forward simultaneously.

  3. Work with Family Dollar to establish a reasonable payment schedule that accounts for the
     fact that based on past statistics as many as 90% of the individual arbitrations will default at
     an early stage.

  4. Agree that fees will be refundable, at least in part, for any arbitrations that do not move
     forward on the merits.

  5. Retroactively apply any favorable changes, including as to fees, in AAA’s rules on mass
     arbitrations.

  6. Establish a reasonable schedule for the merits adjudication of these demands, including
     through a bellwether approach, coordination of pre-hearing discovery, and other processes to
     more efficiently and fairly resolve these claims.

  First, Family Dollar requests a reduction in the administrative fees specified in AAA’s fee schedule
  to account for the true per claim costs of mass arbitration administration. Assessing the full amount
  of the fees for each of the thousands of individual demands here would not accurately reflect the
  costs of administering these demands, and it would subject Family Dollar to extreme inequities.
  Although AAA is seeking the full administrative fee for each demand that is the only way in which
  it has treated these demands as individual arbitrations. It has created a group filing team to whom
  these arbitrations have been assigned in lieu of Family Dollar’s regular administrator. And we
  understand it has assigned all of the mass arbitration demands filed by Keller Lenkner against other
  corporations to this same team in lieu of their regular administrators. In short, administratively
  AAA is treating these demands differently from single claimant arbitrations, because everyone
  recognizes that these are individual demands in name only. Yet it continues to demand the
  aggregate payment of exorbitant filing fees.

  Providing the requested relief falls well within the purview of the AAA’s rules. In fact, under the
  Employment Arbitration Rules applicable here, AAA expressly retains discretion to “defer or
  reduce the administration fees” “in the event of extreme hardship on any party.” R. 43 (emphasis
  added).

  Exercising this discretion here would not amount to favoritism, but rather would reflect the
  evenhanded application of a rule that by its plain terms applies to employees and employers alike.




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  Based on the 1,897 1 demands that Keller Lenkner has filed with AAA to date, Family Dollar
  estimates that it would have to pay almost $6 million in administrative fees alone, not including
  arbitrators’ fees. In these circumstances, where a single law firm has almost two thousand, cut-
  and-paste demands for arbitration containing the same bare bones allegations—and the individual
  arbitration fees bear no relation to the actual cost of administering what is, in substance, an
  impermissible collective proceeding—requiring Family Dollar to pay the full administrative fees
  would constitute an extreme hardship, an unfair and abusive process, and would risk signaling that
  AAA condones Keller Lenkner’s improper tactics. Indeed, aside from its improper attempt to
  coerce Family Dollar to settle based on the sheer volume of demands—i.e., the threat of significant
  up-front administrative fees—Keller Lenkner and its clients have no legitimate interest whatsoever
  in the amount or timing of administrative fees paid by Family Dollar.

  Second, Family Dollar also respectfully requests that AAA work with it to establish a reasonable,
  staggered fee schedule for the payment of the arbitration demands as they proceed to arbitration
  instead of requiring that full fees be paid up front for thousands of demands that may never actually
  proceed to arbitration, let alone within a reasonable timeframe.

  Third, and at a minimum, any fees paid for arbitrations that do not move forward on the merits
  should be refundable.

  Fourth, to the extent AAA revises its rules relating to mass arbitrations, we further request that any
  favorable changes, including as to fees, apply retroactively to this matter.

  Finally, and on a related note, Family Dollar is concerned that it would be infeasible and
  unworkable to proceed with all of the arbitration demands simultaneously, particularly given the
  strain that this number of demands places on AAA resources. Indeed, AAA recently informed
  Family Dollar that AAA is currently administering 380 separate arbitrations against a single
  defendant, and those arbitrations will not proceed on the merits until at least 2021. Of course, this
  is just one example of AAA’s current caseload. The 1,897 demands at issue here seek to initiate
  arbitration proceedings in nearly every state, and Keller Lenkner has represented that it will file
  hundreds if not thousands more demands imminently. These manageability issues counsel in favor
  of proceeding with a smaller number of bellwether arbitrations on a state-by-state basis, as you
  have previously suggested, and assessing fees accordingly. Keller Lenkner’s refusal to date to
  agree to staggered proceedings further evinces its desire to use the coercive threat of administrative
  fees to exert maximum pressure on Family Dollar to settle, even though many of these claims are
  time barred, entirely meritless, or both. As a result, it provides no basis for AAA to refuse to
  structure the individual arbitrations in a manner that is feasible and efficient for all involved.




  1
    Keller Lenkner filed 1962 demands, then agreed that 65 should be withdrawn but then filed amended demands
  totaling 1962, including the 65 it previously agreed to withdraw. Family Dollar is assuming that those 65 will be
  withdrawn.

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  Please do not hesitate to contact us with any questions. We appreciate your attention to this matter,
  and look forward to hearing from you soon.

                                                        Sincerely,



                                                        Beth Hirsch Berman




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   From:           Beth Berman
   To:             Warren Postman
   Cc:             AAA Heather Santo
   Bcc:            William Old; bmiller@seyfarth.com; Elaine Hogan; jschwartz@gibsondunn.com; Jmrdjenovic@gibsondunn.com;
                   JJ Jacobson-Allen; pbannon@seyfarth.com; lporter@littler.com; Sara Rafal; sbehnia@littler.com
   Subject:        letter regarding deficient demands for arbitration before the AAA
   Date:           Friday, October 18, 2019 10:09:09 AM
   Attachments:    image003.jpg
                   letter to Warren Postman frivilous demands 10.18.2019.pdf
                   Exh A to Postman Letter re AAA Demand Deficiencies unidentified claimants.pdf
                   Exh B to Postman Letter re AAA Demand Deficiencies. time-barred.pdf
                   Exh C to Postman Letter re AAA Demand Deficiencies.no AAA agreement.pdf


   Please see attached correspondence.


   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com
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                                                       October 18, 2019


  Warren Postman, Esq.
  Keller Lenkner
  1300 I Street, N.W., Suite 400E
  Washington, D.C. 20005

  Dear Warren,

  We appreciate that you filed amended demands with the AAA that now state an amount in
  controversy, but we write to express our serious concerns about a number of outstanding
  deficiencies in the demands. We raised these issues with the AAA in the letter that we submitted
  yesterday, and we now respectfully request that you immediately withdraw these demands.

  First, we note that you filed 1,962 amended demands. That is the same number of demands as
  you previously filed and includes demands for the 63 claimants whom we could not identify as
  having worked for Family Dollar and on behalf of whom you said you would not pursue claims at
  this time. We also recently sent you a list with an additional 200+ claimants we could not identify
  as having worked for Family Dollar or Dollar Tree, 169 as to whom you filed demands with AAA.
  The list of the 169 is attached as Exhibit A to this letter for your reference. Further, the amended
  demands include a demand for Judy Harbin, even though you said she no longer wished to pursue
  a demand, and duplicate demands for Alicia Franks. We respectfully request that you withdraw
  all of these demands immediately.

  Second, you have filed amended demands on behalf of 287 claimants whose claims are completely
  time barred based on the longest statute of limitations cited in their demands. These claimants are
  listed in Exhibit B to this letter. Please withdraw their demands for arbitration.

  Finally, 245 claimants either do not have arbitration agreements or their agreements provide for
  arbitration before JAMS, not the AAA; more than 100 of the claimants have bankruptcy filings
  that we believe bar them from pursuing the claims that are the subject of their demands; and at
  least 8 claimants may be subject to releases that bar them from pursuing the claims that are the
  subject of their demands. The list of claimants with no arbitration agreement or an agreement
  providing for arbitration before JAMS is attached as Exhibit C to this letter. We will provide you
  with a list of the latter two categories of claimants next week. We request that you withdraw all
  of these demands for arbitration.

  In light of these glaring deficiencies, we think it important to remind you of your obligation to
  present only those claims that, based on a reasonable inquiry, “are warranted by existing law or by
  a nonfrivolous argument for extending, modifying, or reversing existing law or for establishing
  new law.” Fed. R. Civ. P. 11(b)(2); see also Ill. R. Prof’l Conduct 3.1 (“A lawyer shall not bring
  or defend a proceeding, or assert or controvert an issue therein, unless there is a basis in law and

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  fact for doing so that is not frivolous, which includes a good-faith argument for an extension,
  modification or reversal of existing law.”); D.C. R. Prof’l Conduct 3.1 (same).

  A disturbing number of the demands you have filed with the AAA do not satisfy these baseline
  ethical requirements. Indeed, nearly 12% of the demands were filed on behalf of claimants who
  do not appear to have worked for any Family Dollar Entity. Of the remaining demands, nearly
  17% are completely time barred, and at least a third assert at least one time-barred claim. Even
  worse, you shifted the burden to Family Dollar to identify time-barred claimants, even though it is
  your obligation to verify that your clients’ claims are brought in good faith. See Brubaker v. City
  of Richmond, 943 F.2d 1363, 1384–85 (4th Cir. 1991) (“Where an attorney knows that a claim is
  time-barred and has no intention of seeking reversal of existing precedent. . . . he makes a claim
  groundless in law and is subject to Rule 11 sanctions.”). We expect that going forward, you will
  appropriately screen potential clients. We note that pursuant to the AAA rules, we are entitled to
  recover fees and costs for patently frivolous claims, and intend to seek such relief as appropriate
  here.

  Of course, if you have any information that causes you to believe any of the foregoing claims are
  properly before the AAA, please share that with us as soon as possible. We think it appropriate
  that you withdraw all of these improperly filed demands prior to October 24, 2019.

                                                       Sincerely,

                                                         /s/

                                                       Beth Hirsch Berman



  cc: Heather Santo

  Attachment




                                                  2
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                Exhibit A: Claimants Not Identified in Family Dollar Records

  Walter Adams
  Tomika Adkins
  Crystal Albright
  Tara Alexander
  Susana Alva
  Shaletha Anderson
  Virginia Artis-Miller
  Miles Atkinson
  Colleenmae Balmes
  Robert Bardsley
  Brittiany Batton
  Cheryl Benner
  Schaquonda Blue
  Loretha Blue
  Randy Bourgeois
  Lakeisha Branch-Clark
  Deonte Bransome
  Paris Brown
  Marcia Brown
  Theresa Brumfield
  Tosha Bundy
  Kenneth Butler
  Norene Camel
  Debbie Cano
  Jessica Capers
  Francis Carl
  Robyn Carlisle
  Teresa Carlson
  Lakeisha Carter
  Whitney Casado
  Claret Castaneda
  William Castillo
  Estaban Class
  Demetrius Cole
  Pamela Combs
  Lauren Conner
  Olivia Cooper
  Peggy Cupp
  Donnq Darbonne
  Lisa Davanzo
  Christine Delillio
  Gary Demery
  Kristian Dillon
  Jaleel Dodson
  Brandon Donaldson
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  Melody Dtaples
  Vickie Dukes
  Teresa Dunn
  Shelly Eason
  Tyree Figgins-Patterson
  Pauline Figueroa
  Luis Flores
  Aaron Franklin
  Michael Gaines Sr.
  Bobbiejo Gaskill
  Robert Gibson
  Selina Gleaton
  Christina Goff
  Tabitha Gonzales
  Anastasia Gonzales
  Monique Grant
  Mellisha Grant
  Crystal Gravitt
  Diana Hammonds
  Joshua Hanuszczak
  Danetta Harris
  Robin Hayes
  Tina Henderson
  Steve Hendrickson
  Jazmin Hernandez
  Shereeka Higdon
  Dahjane Hogan
  Michael Holbrook
  Trisha Hopper
  Marond Hudson
  Kharlota Hunter
  Markeisha Jackson
  Monique Jackson
  Maurice Jackson
  Betty Jean
  Camesha Jeanfrancous
  Jaqual Jenkins
  Calhea Johnson
  Kelvin Johnson
  Deidra Johnson
  Curtis Joyner
  Amy Juett
  Mohammad Kauser
  Amanda Keith
  Tamika Kemp
  Tina Kennedy



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  Denise King
  Zacharia Kramer
  Kenneth Kuhn
  Dina Laney
  Crystal Lepkowski
  Angela Lewis
  CreÂ’Shana Lewis
  Lakiila Lopez
  Veronica Lucero
  Latoya Malone
  Todd Mascho
  Shayna Mcarthur
  Jillian Mccarthy
  Markisha Mccloud
  Alexius Mccloud-Hightower
  Veronica Minor
  Brittany Molison
  Keyoshia Moore
  Jerry Moore
  Wayne Moss
  Jonathan Nichols
  Maria Ovalle
  Martha Paredes Reyes
  Anissa Paskins
  Pedro Pena Cuesta
  Christina Penick
  Bianca Perry
  Mechelle Peterson
  Kenneth Phillips
  Dennis Pollard
  Larry Potter
  Constance Pratt
  Christopher Pruitt
  Brian Pryor
  Misti Rappold
  Roger Rendon
  Pat Ridge
  Sandra Rivera
  Heather Roberts
  Melissa Rock Billups
  Nenoshka Rodriguez
  Alicia Rogers
  Danielle Rumph
  Tonya Sands
  Shaquavious Scott
  Antoine Sealey



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  Melinda Sexton
  Linda Shaw
  Bonniesue Shevlin
  Detrice Simpkins
  Jennifer Sinclair
  Kayla Skally
  Richard Smith Jr.
  Andrew Steelman
  Tiera Stephenson
  Benita Stinson
  Desiree Strother
  Sharon Tate
  Shakira Thomas
  Raymond Troetsch
  Carla Tyler
  Pamela Vales
  Ilsa Villa
  Sonja Waites
  Sha’Kara Walker
  Tina Welborn
  DeÂ’Ara Welch
  Ericka West
  Natoya Whitaker-Jones
  Duane Williams
  Kyana Williams
  Tanya Williamson
  Rickey Wilson
  Marlene Wilson
  Tondalaka Wimes
  Takisha Wolfe
  Deloris Woodley
  Tiffany Zirkle




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                       Exhibit B: Completely Time-Barred Claimants

  Aaron Mcduffie
  Abriana Melo
  Adam Scallions
  Adreco Howze
  Alashay Bonds
  Aleta Yutzy
  Alexandria Kimble
  Alonda Hobbs
  Amanda Dirschauer
  Amanda Hall
  Amanda Henderson
  Angel Clark
  Angela Osborne
  Angelo Perry
  Anthony Foster
  Ashleigh Wilmoth
  Aundrea Johnson
  Benjamin Murphy
  Betty Miller
  Beverly Jolivet
  Billie Farley
  Blair Cooper
  Brandon Burwell
  Brenda Grainger
  Brenda Vasquez
  Brian Lott
  Bronwyn Sawyer
  Candice Johnson
  Candis Ballard
  Candra Jackson
  Carlona Odom
  Casey Palmatier
  Catrina Ulmer
  Chaddrick Moore
  Chandra Montgomery
  Chantay Taylor
  Chaquita Hubbard
  Charita Lewis
  Charles Ross
  Charlotte Daniels
  Charlotte Pauly
  Chelsea Rowell
  Cherie Knott
  Cheryl Banks
  Cheryl Pitzer
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 39 of 67 PageID# 158




  Cheryl Richardson
  Chris Eldridge
  Christane Poe
  Christina Lewis
  Christopher Kilburn
  Christopher Riels
  Clarissa Richardson
  Corey Jenkins
  Cornelius Wyatt
  Cory Bradley
  Crystal Tress
  Cynthia Higdon
  Cynthia Yazzie
  Daisey Mccarter
  Daisy Rochester
  Dampier Austin
  Daneesha Elliott
  Danesha Curry
  Danielle Moss
  Darrell Lowe
  Dasha Gamble
  David Iacona
  Davon Bolden
  Debby Belland
  Deborah Ritchey
  Deidre Rhymes
  Delisa Birdsong
  Dennis Withers
  Derick Bailey
  Devyn Hollaman
  Dianne Pringle
  Dimitrius Lee
  Dominique Robinson
  Donetria Bradley
  Donna Roberts
  Dontasha Mckenzie
  Dreu Jones
  Earlean Taylor
  Edward Raab
  Eliza Bankhead
  Elizabeth Smith
  Elizabeth Thomas
  Ellen Butler
  Erica Favella
  Erika Jackson
  Essence Craig



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  Evet Allen
  Francisco Nunez
  Geneka Ricks
  Grayland Mitchell
  Greta Johnson
  Heather Brewer
  Heather Fama
  Heidi Jones
  Heidi Smiley
  Ieasha Jones
  India Daigs
  Isaac Davis
  Iyana Nichols
  Jacque Blackman
  Jacquelyn Long
  Jakezia Cobb
  James Mack
  James Novick
  Jamie Jackson
  Jamie Moore
  Jasmine Hamilton
  Jeannette Hayes Leaf
  Jennifer Brown
  Jennifer Guevara
  Jennifer Jolley
  Jennifer Shell
  Jennifer Walliser
  Jeremy Everett
  Jerima Baynes
  Jessica Polzin
  Jessica Weinkauf
  Jessie Aldridge
  Joe Taylor Jr
  John Rein-Deforge
  Joniqua Lee
  Joshua Curley
  Joshua Jones
  Joshua Niedfeldt
  Jozeder Wheeler
  Judith Tally
  Julie Ramos
  Justine Bartlett
  Kaitlin French
  Kanisha Clark
  Kara Alsup
  Kareem Rush



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  Karima Ferguson
  Kathy Coffey
  Kelli Patterson
  Kenneth Holtzapple
  Kenneth Thomas
  Khadjah Stafford
  Kiera Johnson
  Kimberly Baidas
  Kimberly Bergeron
  Kisha Hubbard
  Kristina Williams
  Kristy Borst
  Krystal Ashline
  Lakesha Billings
  Lakisha Davis
  Lakisha Williams
  Lakisha Woods
  Laquita Leigh
  Larry White
  Lashawn Dejean
  Lashonna Jenkins
  Latoya Goodman
  Latoya Jefferson
  Latoya Mayo
  Laural Mathis
  Lavonda Lee
  Liana Elam
  Ligita Barnett
  Lisa Arrington
  Lisa Edwards
  Lisa Muncie
  Lydia Rogers
  Madlyen Cook
  Marcia Moore
  Margarita Torres
  Maria Olguin
  Marie Medina
  Marquitta Moye
  Maryia Morton
  Mayra Delgado
  Mayra Diaz
  Megan Amati
  Meghan Gramling
  Melissa Adams
  Melissa Yarbrough
  Melvin Burcham



                                        4
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  Melvin Wells
  Miami Scaggs
  Michael Madden
  Michaela Anderson
  Michelle Bellavita
  Michelle Gillespie
  Michelle Northern
  Milagros Colon
  Miles Clayton
  Misty Soudelier
  Miyisha Mcnealy
  Mohammad Shoaib
  Monica Carter
  Monique Cruse
  Morgan Browne
  Nakeisha Blackwell
  Nancy Meche
  Natlee Wheeler
  Nena Bickham
  Nichole Stevens
  Nicole Roberts
  Nonya Smith
  Octavia Berry
  Pamela Morgan
  Pamela Webber
  Paris Jackson
  Pateria Washington
  Patricia Godfrey
  Patricia Spencer
  Paula Arrington
  Peonka Hall
  Phyllis Jefferson
  Portia Neal
  Rachael Boivin
  Raelynne Franklin
  Ramello Brown
  Rhonda Burdett
  Rikki Clifford
  Robert Nailon
  Robert Russell
  Rodney Rindahl
  Rodney Warne
  Ronnie Sykes
  Rosalind Brooks
  Sabrina Collier
  Samantha Stowman



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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 43 of 67 PageID# 162




  Sandra Eastman
  Sandra Edmonds
  Sandra Romero
  Saneice Chandler
  Santana Turner
  Sarah Johnson
  Sasha Valle
  Sequoia Carroll
  Shakira Henry
  Shannon Diaz
  Shannon Paquette
  Shannon Walker
  Shaquita Griffin
  Sharon Greeley
  Sharrie Stanley
  Shayna Wright
  Shelly Leblanc
  Sheneka Williams
  Stacey Ford
  Stacey Louis
  Stephanie Salisbury
  Steven Counts
  Susan Jordan
  Tamara Skinner
  Tanisha Gilbert
  Tannis Starkey
  Taurean James
  Temika Rafford
  Teresa Baker
  Terrel Thompson
  Theresa Gant
  Tiana Rivera
  Tiffany Fitzgerald
  Tiffany Kirby
  Tiffany Stephens
  Tikiko Newsome
  Timothy Jackson
  Tina Bills
  Tina Lewis
  Tionna Young
  Tracy Tolliver
  Trina Peterson
  Trista Silver
  Vanessa Elliiott
  Veronica Martinez
  Vicky Dematteo



                                        6
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 44 of 67 PageID# 163




  Victoria Handy
  Vonquita Waters
  Wayne Morris
  Wendy Goff
  Wendy Wilson
  Wilanna Taylor
  Willie Mosley
  Xavier Gonzalez
  Yolanda Smith
  Yonte Tucker
  Yvette Salmeron
  Zena Reagins




                                        7
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         Exhibit C: Claimants With No Arbitration Agreement or JAMS Agreement

  Tamara Adams
  Jessie Aldridge
  Amari Allen
  James Anderson
  Alicia Arista
  Megan Ashinhurst
  Noemi Aviles
  Sabrina Avina
  Amanda Bacha
  Courtney Baker
  Alyssa Baker
  Kalilah Bandy
  Eliza Bankhead
  Sharris Bannister
  Amber Barlow
  Jerome Barnes
  Shannon Barrett
  Christina Bass
  Dana Bates
  Sheri Bates
  Kiera Beach
  Kella Bean
  Steven Beatty
  Bette Bell
  Paula Bergman
  Lisa Black
  Danielle Blaine
  Joseph Blanchette
  Wendy Blaney
  Anna Blunt
  Mona Bolston
  Diana Bounds
  Courtney Bourque
  Mary Brand
  Jeffrey Branson
  Shayvonne Brooks
  Jennifer Brown
  Sade Brown
  Octavia Brown
  Kalieah Brown
  Deana Brown
  Crystal Brown
  Danelle Caple
  Joyce Carlile
  Kimberly Carpenter
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 46 of 67 PageID# 165




  Kelly Carroll
  Marcia Caston
  Thomas Cerda
  Anita Chavis
  Celina Clark
  Malynda Clark
  Karissa Clemens
  Kayla Clemons
  Melonie Collazo
  Anna Collier
  Stacie Collins
  Isaac Conner
  Stacymae Cooper
  Blair Cooper
  Daniel Craig
  Felipe Cruz
  Alexandra Cuevas
  Tracie Cumbest
  Kimberly Davenport
  Lakisha Davis
  Courtney Davis
  Isaac Davis
  Stephanie Davis
  Theodora Davis
  John Dempsey
  Teodoro Diaz
  Ashley Dixon
  Elena Dixon
  Tawanna Doolittle
  Leslie Doores
  Crystalynn Doucette
  James Doyle
  Shondra Dunn
  Alicia Dunning
  Brandin Edwards
  Jehremy Eilts
  Liana Elam
  Brenda Eldridge
  Tamie Eldridge
  Amanda Evans
  Kenyoula Fant
  Linda Farrell
  Teresa Fisk
  Corey Flowers
  Kimberly Frierson
  Gary Frisinger



                                        2
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  Dasha Gamble
  Myra Garcia
  Howard Gibson
  Brenda Goodman
  Amy Graw
  Nakiya Greene
  Carlotta Guadalupe
  Roxanne Hamilton
  Shanequa Harris
  Tamia Harris
  Keya Harris
  Damisha Harris
  Markeesa Heard
  Kathie Hefeneider
  Christopher Hernandez
  Chassity Hickman
  Brandi Holland
  Lori Horton
  Christina Howland
  Jaquise Hudson
  Melody Hughes
  Amanda Hunt
  Latissa Hunter
  Keith Isler
  Derika Jackson
  Shanterrica Jackson
  Rhonda Jarrett
  Kyle Jarvis
  Corey Jenkins
  Lori Jerovetz
  Misty Johnson
  Kelly Johnson
  Ebony Johnson
  Cordaryl Johnson
  Alfred Johnson
  Kiera Johnson
  Carla Johnson
  Victoria Johnson
  Shenitha Jones
  Richard Joslin
  Lakendra Joyner
  Antonio Julius
  Janna Kern
  Alexandria Kimble
  Juvon Knox
  Michelle Lavender



                                        3
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  Shelly Leblanc
  Lavonda Lee
  Madeline Lee
  Jody Lehman
  Amy Lemasters
  Robin Lemcool
  Charles Lightell
  Gregory Lingerfelt
  Dawn Littlechild
  Stacey Louis
  Jasmine Lovett-Arnold
  Deborah Lynn
  Kelly Maddox
  Shauntrae Marley
  Cheryl Mason
  Denny Matos
  Taela Mattson
  Terry Mcclennon
  Lakia Mcculler
  Tabitha Mccurdy
  Rebeka Mcdaniel
  Devon Mciver
  Shaniqua Mckinney
  Susan Mcknight
  Robert Mendez
  Tomika Mickles
  Angela Miller
  Jeneba Miller-Dyer
  Samantha Mister
  Lorie Mitchell
  Sherrell Mitchell
  Grayland Mitchell
  Christopher Moore
  Carmen Murphy
  Lakesha Nelson
  Crystal Newton
  Iyana Nichols
  Danielle Nicholson
  Yvette Nixon
  Sheena Norman
  Melissa Nutter
  Joylynn O’Brien
  Reasia Omar
  Minta O-Neal
  Jeanette Owens
  Rosa Pacheco



                                        4
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  Bobbi Percy
  Jennifer Perkins
  Jaquanese Peters
  Heather Phillips
  Carrie Pierce
  Mankisha Pike
  Amber Pike
  Angela Price
  Otawah Price
  Michelle Pushee
  Amy Queen
  Precious Queen
  Sheila Rachal
  Carla Reeder
  Erica Reyes
  Kari Reyes
  Ternesca Richey
  Damaris Rivera
  Tera Rivera
  Doneshia Roberson
  Zoraida Rojo
  Chelsea Rowell
  Kerry Sam
  Chris Samuels
  Chad Schreiber
  Chastity Sexton
  Rachel Shields
  Sierra Smith
  Caprice Smith
  Jamese Spencer
  Kathryn Stevens
  Lakesha Stuckey
  Sama Sumbunu
  Julie Sweener
  Amanda Szyszkowski
  Tommie Taber
  Sara Talbot
  Earlean Taylor
  Tamir Taylor Sr
  Terrance Thomas
  Kenneth Thomas
  Terrel Thompson
  Alice Thompson
  Ashley Tierney
  Simone Todd
  Tracy Tolliver



                                        5
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  Veronica Torres
  Jessi Valencia
  Giannisse Vazquez
  Alexeus Veal
  Heather Wheeler
  Jozeder Wheeler
  Jalyssa White
  Shondra Whitfield
  Jason Wicker
  Contempris Williams
  Jarakeem Williams
  Amanda Wilson
  Keisha Wilson
  Devene Wilson
  Wendy Wilson
  Grace Zagata




                                        6
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 51 of 67 PageID# 170


   From:                    Beth Berman
   To:                      AAA Heather Santo
   Bcc:                     William Old; bmiller@seyfarth com; Elaine Hogan; jschwartz@gibsondunn.com; Jmrdjenovic@gibsondunn.com; JJ Jacobson-Allen;
                            pbannon@seyfarth.com; lporter@littler.com; Sara Rafal; sbehnia@littler com
   Subject:                 RE: Keller Lenkner/Family Dollar arbitration demands
   Date:                    Friday, October 18, 2019 12:04:30 PM
   Attachments:             image003.jpg
                            image005.png
                            image007.jpg
                            image009.jpg


   Ms Santo,

   Before I can decide how to respond, I would appreciate you clarifying something for me.

   Family Dollar is responsible for paying the filing fees for the demands. As such, the amount of fees and schedule
   pursuant to which Family Dollar will pay them should have no effect on Keller Lenkner or its claimants. Consequently, I
   do not understand why the AAA would need or solicit Keller Lenkner’s input. Please explain.

   Thank you,
   Beth Hirsch Berman


   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com



   From: AAA Heather Santo [mailto:heathersanto@adr.org]
   Sent: Friday, October 18, 2019 11:40 AM
   To: Beth Berman <bberman@dollartree.com>
   Subject: RE: Keller Lenkner/Family Dollar arbitration demands

   Dear Ms. Berman,

   Thank you for your letter. As a neutral administrative agency that must consider the positions of all involved parties, the AAA will
   share your letter, dated October 16, 2019, with the opposing counsel and request their comments. If you prefer to communicate
   Family Dollar’s position to AAA with a copy to the opposing counsel, please let me know by end of day Monday, October 21, 2019.
   A response from AAA will be issued only after we have considered the positions of both parties.

   Sincerely,
   Heather Santo




   Logo            Heather Santo
                   American Arbitration Association

                   1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                   T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                   adr.org  | icdr.org | aaamediation.org

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   From: Beth Berman <bberman@dollartree.com>
   Sent: Wednesday, October 16, 2019 11:52 AM
   To: AAA Heather Santo <heathersanto@adr.org>
   Subject: Keller Lenkner/Family Dollar arbitration demands

     *** External E-Mail – Use Caution ***


   Please see attached correspondence


   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com




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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 53 of 67 PageID# 172


   From:          Beth Berman
   To:            AAA Heather Santo
   Cc:            Warren Postman; Sean Duddy; Elaine Hogan; Sara Rafal
   Bcc:           William Old; bmiller@seyfarth.com; jschwartz@gibsondunn.com; Jmrdjenovic@gibsondunn.com; JJ Jacobson-
                  Allen; pbannon@seyfarth.com; lporter@littler.com; sbehnia@littler.com
   Subject:       Keller Lenkner arbitration demands
   Date:          Friday, October 25, 2019 1:17:28 PM
   Attachments:   image003.jpg


   Ms. Santo,

   For all the reasons in our previous correspondence, Family Dollar continues to
   believe all the Keller Lenkner filed demands for arbitration are deficient and fail to
   comply with AAA’s rules. As of today, we do not know the factual basis for any
   claimant’s claim and thus have no ability to investigate. Moreover, the AAA demand
   form requires that the claimant “describe the nature of each claim” “[i]n detail.”
   Stating the bare legal elements of a claim does not suffice. Under Keller Lenkner’s
   reasoning, it would suffice to simply state the statute under which one is alleging
   claims. Accepting that as sufficient greatly reduces the efficiency of arbitration
   proceedings. We urge you to have the Administrative Review Council consider the
   parties’ respective positions before issuing any invoices.

   Even if AAA ultimately concludes that some or all of the demands are compliant with
   AAA’s rules, invoicing Family Dollar now would still be premature. Just two days ago,
   Family Dollar sent settlement offers to hundreds of claimants. The offers were for the
   full amount in controversy as set forth on the amended demands and included
   additional sums for attorneys’ fees. Keller Lenkner failed to mention those offers in its
   October 24, 2019, correspondence to AAA. Those claimants appear on Exhibit B to
   that correspondence. Since there is no logical or good faith reason for claimants to
   reject an offer that makes them fully whole according to their own demands, the
   claimants should be afforded reasonable time to consider the offers before AAA
   moves forward with their demands.

   Additionally, Keller Lenkner asked AAA to invoice Family Dollar for claimants who
   never worked for Family Dollar. Family Dollar provided the list of additional claimants
   it could not identify to Keller Lenkner weeks ago; yet Keller Lenkner provided no
   additional identifying information until last night. We continue to believe that a large
   number of those people did not work for Family Dollar but we must be given time to
   confer with Keller Lenkner on this matter. Furthermore, even if Family Dollar finds
   that some of the claimants worked for it, they may not have AAA arbitration
   agreements, they may be barred by the applicable statute of limitations, etc.
   Therefore, it would be wholly inappropriate to invoice Family Dollar for any of the
   claimants on Exhibit A to Keller Lenkner’s October 24th correspondence, including
   Tab (i), and at least 100 claimants on Exhibit B until Family Dollar has had time to
   research those individuals.

   In summary, while Family Dollar believes and submits AAA should find all the
   demands are materially deficient, if AAA finds otherwise Family Dollar still should not
   be required or even asked to pay fees at this time for anyone whom it has not
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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 55 of 67 PageID# 174


   From:          Beth Berman
   To:            AAA Heather Santo
   Cc:            Warren Postman; Sara Rafal; Elaine Hogan
   Bcc:           William Old; bmiller@seyfarth.com; Bennett.Borden@dbr.com; jschwartz@gibsondunn.com;
                  Jmrdjenovic@gibsondunn.com; JJ Jacobson-Allen; pbannon@seyfarth.com; lporter@littler.com;
                  sbehnia@littler.com
   Subject:       Arbitration billing
   Date:          Saturday, November 2, 2019 5:33:42 PM
   Attachments:   image002.jpg


   Ms. Santo,

   In your correspondence dated October 29, 2019, you stated that AAA was billing
   Family Dollar $2,200 for each of the 1209 cases that Keller Lenkner directed you to
   proceed with. You further stated that AAA would accept a $600 non-refundable fee in
   lieu of the $2,200 for each of those cases that the parties agree to put on hold while
   they engage in settlement discussions.

   Family Dollar’s arbitration agreement specifically provides that arbitration is
   commenced by a claimant filing his/her demand with Family Dollar. There is no
   provision in the Family Dollar agreement that permits the commencement of
   arbitration by a claimant filing his/her demand directly with AAA. Since the inception
   of Family Dollar’s arbitration program in 2013, the consistent practice has been that
   an employee claimant file his/her demand with Family Dollar, not AAA. That has
   allowed Family Dollar to determine whether a matter even belongs in arbitration i.e.,
   whether the claimant worked for Family Dollar, signed an arbitration agreement, etc.
   The procedure has also permitted the parties to engage in settlement discussions
   when appropriate. All this has allowed the parties to resolve disputes without
   involving AAA. It is only after the parties’ attempt to resolve a matter was
   unsuccessful that a demand has been filed with AAA. In those instances, Family
   Dollar, not the claimant, has forwarded the demand, copy of the arbitration agreement
   and fee payment to AAA.

   That did not occur here. Instead, Keller Lenkner filed demands directly with AAA at
   approximately the same time it filed its demands with Family Dollar in contravention of
   the arbitration agreement. Family Dollar has not sent any of those demands to AAA;
   as it is engaged in working through each of the demands to see which claims might
   be resolved without AAA’s involvement. In fact and as you are aware, Family Dollar
   has identified numerous claimants who did not work for it, do not have agreements to
   arbitrate with AAA, etc. As you are also aware, Family Dollar has extended
   settlement offers to almost 300 claimants and is in the process of preparing
   settlement offers to additional claimants. Thus, any work that AAA has done in
   connection with the demands filed by Keller Lenkner was premature and not in
   accordance with Family Dollar’s arbitration agreement. Accordingly, while Family
   Dollar is prepared to pay the requisite filing fee for those demands that go forward
   with arbitration, in keeping with the terms of its arbitration agreement, it believes there
   is no basis for AAA assessing a $600 filing fee for those cases that do not move
   forward.

   Sincerely,
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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 57 of 67 PageID# 176


   From:                    AAA Patrick Tatum
   To:                      Beth Berman; Warren Postman; Sean Duddy; Sara Rafal; Elaine Hogan
   Cc:                      AAA Heather Santo; AAA Patrick Tatum; Patrick Tatum
   Subject:                 FW: Arbitration billing
   Date:                    Monday, November 11, 2019 3:35:39 PM
   Attachments:             image010.png
                            image011.jpg
                            image012.jpg
                            image004.jpg
                            image005.png
                            image006.jpg
                            image0e7939.PNG
                            imaged24b89.JPG


   Dear Counsel,

   Respondent’s email has been brought to my attention for review and response. I have reviewed the case correspondence in these
   matters.

   In regards to the issues raised pertaining to filing requirements, including issues of arbitrability, and the number of arbitrations
   proceeding, the AAA addressed these issues in prior communications dated October 3, 2019; October 11, 2019; October 25, 2019
   and October 29, 2019. The AAA did determine that the minimum administrative filing requirements, pursuant to Rule 4 of the
   Employment Arbitration Rules, have been met.
   Cases are not submitted to the Administrative Review Counsel (ARC) until the filing fees have been paid. Once the administrative
   fees have been submitted we then determine whether or not a case is put before the Administrative Review Counsel (ARC).
   Inasmuch as the initial 970 individual arbitration filings were submitted to AAA on July 19, 2019, the Employment/Workplace Group
   Administrative Filing Fee Schedule, effective November 1, 2019, is not applicable.
   As previously advised, if we do not receive Respondent’s initial filing fees by tomorrow we will close our files and we may decline to
   administer any future employment disputes involving Respondent due to non-compliance with our request to pay the requisite
   fees.
   Sincerely,

   Patrick Tatum




   Logo           AAA Patrick Tatum
                  Vice President
                  American Arbitration Association

                  T: 559 490 1905 F: 855 270 8400 E: patricktatum@adr.org
                  45 E River Park Place W, Suite 308, Fresno, CA 93720
                  adr.org  | icdr.org | aaamediation.org

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   From: Beth Berman <bberman@dollartree.com>
   Sent: Monday, November 11, 2019 12:45 PM
   To: AAA Heather Santo <heathersanto@adr.org>; Warren Postman <wdp@kellerlenkner.com>
   Cc: Sean Duddy <skd@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: RE: Arbitration billing

      *** External E-Mail – Use Caution ***


   Ms. Santo,

   We again disagree that the minimum administrative filing requirements have been met. We request that any such
   determination be made by AAA’s Administrative Review Council (or a higher authority) since one of its purposes is to
   resolve issues related to: “whether the filing requirements contained in the AAA Rules have been met.” It does not
   appear that the Council engaged in any review of the Keller Lenkner Demands and no explanation as to how the
   Demands were determined to have met the filing requirements has been provided by AAA.
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   We continue to believe the filings are defective. For example, Rule 4. b. (i)(1) states, “The filing shall . . . include the
   applicable arbitration agreement.” That requirement is not merely pro forma but rather has important legal
   significance. None of the Keller Lenkner Demands included the applicable arbitration agreement. Yet, you determined
   those Demands compliant and billed Family Dollar for more than one hundred Demands sent in the names of people
   who are not subject to agreements to arbitrate with AAA. Without an agreement to arbitrate, there is no legal basis for
   Demands to go forward at AAA or for AAA to bill Family Dollar. And yet, you found those Demands compliant and
   billed Family Dollar for them.

   Billing Family Dollar based on whatever list Keller Lenkner told you to use suggests improper deference when, for
   example, more than one hundred of the individuals are subject to no arbitration agreement or are subject to arbitration
   with JAMS and not AAA. AAA appears to be taking direction from Claimants’ counsel regarding when and how much
   Family Dollar should be billed.

   Because almost 2,000 Demands were sent to you in short order and NONE of them met the requirements of AAA’s
   rules – they did not contain an amount in controversy, did not have arbitration agreements attached, etc. and did not
   meet the requirements of the Family Dollar arbitration agreement as explained below, Family Dollar has had to pursue
   an arduous process to sort through the Demands and its records to determine whether the Claimants should be before
   AAA. As a result of Family Dollar’s efforts, fully one-third of the Demands initially sent by Keller Lenkner have been
   withdrawn due to fatal flaws. In the face of Keller Lenkner’s flawed demands, you required payment of more than
   $2,000,000– first by October 24, then by November 12, as the lists provided by Keller Lenkner changed (they changed
   again just this past Friday night).

   You are trying to bill Family Dollar for arbitrations when the Claimants keep changing. If the arbitrations met the filing
   requirements, then the list of Claimants would remain true or, if and when it changed, AAA would not simply insist on
   immediate payment as instructed by Claimants’ counsel. (As an aside, the latest list sent by Keller Lenkner continues
   to identify Claimants who may not proceed against Family Dollar.)

   Finally, on November 1, 2019, AAA published a revised filing fee schedule. One that provides for “Group” filings with
   an initial filing fee of $400 per Demand, not the $2,200 upon which you are insisting. When we first spoke, you
   acknowledged that AAA was coming out with a new fee schedule. Since the Group filing fee is now in place, the logical
   neutral thing to do is to charge Family Dollar that filing fee rather than have Family Dollar pay a higher fee. In any
   event, Family Dollar believes the revised filing fee is the applicable filing fee since compliant Demands have not yet
   been filed and Keller Lenkner’s list of Claimants changed as recently as November 8, 2019 – after the revised fee
   schedule was published.

   Let me reiterate, Family Dollar fully intends to comply with its arbitration agreements and honor its obligations. It
   requests that the AAA do the same. Please forward the Demands to the Council (or higher authority) for an
   evaluation. Once a determination is made as to whether the Demands are compliant, Family Dollar requests an
   explanation of the determination. After a determination is made, Family Dollar requests that AAA process the
   Demands in the manner required by Family Dollar’s arbitration agreement.

   Sincerely,
   Beth Hirsch Berman



   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com



   From: AAA Heather Santo [mailto:heathersanto@adr.org]
   Sent: Friday, November 08, 2019 12:11 PM
   To: Warren Postman <wdp@kellerlenkner.com>; Beth Berman <bberman@dollartree.com>
   Cc: Sean Duddy <skd@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: RE: Arbitration billing
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 59 of 67 PageID# 178
Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 60 of 67 PageID# 179


   point.

   Best,

   Warren D. Postman
   Partner
   Keller | Lenkner
   1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
   202.749 8334 | Website | Email



   From: AAA Heather Santo <heathersanto@adr.org>
   Sent: Monday, November 4, 2019 1:20 PM
   To: Beth Berman <bberman@dollartree.com>
   Cc: Warren Postman <wdp@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: RE: Arbitration billing

   Dear Counsel,

   This will acknowledge receipt of Respondent’s email dated November 2, 2019. We ask Claimants to provide their comments by
   November 6, 2019.

   Should you have any questions, please do not hesitate to contact me.

   Sincerely,

   Heather Santo




                   Heather Santo
                   American Arbitration Association

                   1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                   T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                   adr.org  | icdr.org | aaamediation.org

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   From: Beth Berman <bberman@dollartree.com>
   Sent: Saturday, November 2, 2019 5:34 PM
   To: AAA Heather Santo <heathersanto@adr.org>
   Cc: Warren Postman <wdp@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: Arbitration billing

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   Ms. Santo,

   In your correspondence dated October 29, 2019, you stated that AAA was billing Family Dollar $2,200 for each
   of the 1209 cases that Keller Lenkner directed you to proceed with. You further stated that AAA would accept a
   $600 non-refundable fee in lieu of the $2,200 for each of those cases that the parties agree to put on hold while
   they engage in settlement discussions.

   Family Dollar’s arbitration agreement specifically provides that arbitration is commenced by a claimant filing
   his/her demand with Family Dollar. There is no provision in the Family Dollar agreement that permits the
   commencement of arbitration by a claimant filing his/her demand directly with AAA. Since the inception of
   Family Dollar’s arbitration program in 2013, the consistent practice has been that an employee claimant file
   his/her demand with Family Dollar, not AAA. That has allowed Family Dollar to determine whether a matter
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   even belongs in arbitration i.e., whether the claimant worked for Family Dollar, signed an arbitration agreement,
   etc. The procedure has also permitted the parties to engage in settlement discussions when appropriate. All
   this has allowed the parties to resolve disputes without involving AAA. It is only after the parties’ attempt to
   resolve a matter was unsuccessful that a demand has been filed with AAA. In those instances, Family Dollar,
   not the claimant, has forwarded the demand, copy of the arbitration agreement and fee payment to AAA.

   That did not occur here. Instead, Keller Lenkner filed demands directly with AAA at approximately the same
   time it filed its demands with Family Dollar in contravention of the arbitration agreement. Family Dollar has not
   sent any of those demands to AAA; as it is engaged in working through each of the demands to see which
   claims might be resolved without AAA’s involvement. In fact and as you are aware, Family Dollar has identified
   numerous claimants who did not work for it, do not have agreements to arbitrate with AAA, etc. As you are also
   aware, Family Dollar has extended settlement offers to almost 300 claimants and is in the process of preparing
   settlement offers to additional claimants. Thus, any work that AAA has done in connection with the demands
   filed by Keller Lenkner was premature and not in accordance with Family Dollar’s arbitration agreement.
   Accordingly, while Family Dollar is prepared to pay the requisite filing fee for those demands that go forward
   with arbitration, in keeping with the terms of its arbitration agreement, it believes there is no basis for AAA
   assessing a $600 filing fee for those cases that do not move forward.

   Sincerely,
   Beth Hirsch Berman




   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com




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Case 2:20-cv-00248-AWA-RJK Document 10-5 Filed 08/21/20 Page 62 of 67 PageID# 181


   From:           Beth Berman
   To:             AAA Patrick Tatum; Warren Postman; Sean Duddy; Sara Rafal; Elaine Hogan
   Cc:             AAA Heather Santo; Patrick Tatum
   Bcc:            William Old; bmiller@seyfarth com; Bennett.Borden@dbr.com; cchapla@gibsondunn.com; jschwartz@gibsondunn.com; Jmrdjenovic@gibsondunn com; JJ
                   Jacobson-Allen; kdavis@gibsondunn.com; pbannon@seyfarth.com; lporter@littler.com; sbehnia@littler.com
   Subject:        RE: Arbitration billing
   Date:           Thursday, November 14, 2019 3:30:54 PM
   Attachments:    image013.jpg
                   image014.png
                   image015.jpg
                   image016.png
                   image017.jpg
                   image018.jpg
                   image004.jpg
                   image005.png
                   image006.jpg


   Dear Mr. Tatum,

   I do not understand the basis for your assertion that filing fees must be paid before a case can be submitted to the
   Administrative Review Council (ARC). I found nothing in AAA’s rules or ARC’s guidelines that has such a requirement.
   ARC’s Guidelines state under D. Scope of Authority “. . . The AAA Vice President or Director in charge of the AAA’s
   office where the case is being administered has the discretion whether or not to request that the ARC decide if the filing
   requirements contained in the AAA Rules have been met. . . .”

   There is no mention of a fee requirement. Indeed, it is counter intuitive that a non-refundable payment would be
   required before a determination that the filing requirements have been met. Your position, taken to its logical
   conclusion, means even if ARC determines the filing requirements have not been met the respondent who raised the
   issue would still be out the filing fee for a matter that could not move forward because it was brought improperly.

   We have requested an explanation as to the basis for AAA’s determination that the Keller Lenkner demands met AAA’s
   filing requirements and have not received one. We think it is a reasonable request especially given ARC’s Review
   Standards that specify, “The ARC will review the case file and the parties’ contentions when making an administrative
   determination as to whether the Claimant has met the filing requirements contained in the AAA Rules by filing a
   demand for arbitration accompanied by an arbitration clause or submission agreement providing for administration by
   the AAA under its Rules or by naming the AAA as the dispute resolution provider.”

   Given that none of the demands sent by Keller Lenkner was accompanied by an arbitration agreement; that the
   requirement that a demand be accompanied by the applicable arbitration agreement is contained in AAA Rule 4; and
   that it is further specifically called out as an essential component of a demand in ARC’s review standards (see above),
   the Keller Lenkner claimants have not met the minimum filing requirements. Keller Lenkner has presented AAA with
   NO evidence that its claimants agreed to arbitration before AAA. Indeed, more than a dozen of the claimants on Keller
   Lenkner’s Exhibit B sent to AAA last Friday (November 8), have agreements to arbitrate with JAMS, not AAA.

   Accordingly, we again ask that you submit to ARC our request for a determination as to whether the Keller Lenkner
   demands meet AAA’s filing requirements. If you would like us to resubmit our arguments so that they are all in one
   submission, please advise. We would be happy to do so.

   Sincerely,

   Beth Hirsch Berman


   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com



   From: AAA Patrick Tatum [mailto:patricktatum@adr.org]
   Sent: Monday, November 11, 2019 3:35 PM
   To: Beth Berman <bberman@dollartree.com>; Warren Postman <wdp@kellerlenkner.com>; Sean Duddy
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   Demands to go forward at AAA or for AAA to bill Family Dollar. And yet, you found those Demands compliant and
   billed Family Dollar for them.

   Billing Family Dollar based on whatever list Keller Lenkner told you to use suggests improper deference when, for
   example, more than one hundred of the individuals are subject to no arbitration agreement or are subject to arbitration
   with JAMS and not AAA. AAA appears to be taking direction from Claimants’ counsel regarding when and how much
   Family Dollar should be billed.

   Because almost 2,000 Demands were sent to you in short order and NONE of them met the requirements of AAA’s
   rules – they did not contain an amount in controversy, did not have arbitration agreements attached, etc. and did not
   meet the requirements of the Family Dollar arbitration agreement as explained below, Family Dollar has had to pursue
   an arduous process to sort through the Demands and its records to determine whether the Claimants should be before
   AAA. As a result of Family Dollar’s efforts, fully one-third of the Demands initially sent by Keller Lenkner have been
   withdrawn due to fatal flaws. In the face of Keller Lenkner’s flawed demands, you required payment of more than
   $2,000,000– first by October 24, then by November 12, as the lists provided by Keller Lenkner changed (they changed
   again just this past Friday night).

   You are trying to bill Family Dollar for arbitrations when the Claimants keep changing. If the arbitrations met the filing
   requirements, then the list of Claimants would remain true or, if and when it changed, AAA would not simply insist on
   immediate payment as instructed by Claimants’ counsel. (As an aside, the latest list sent by Keller Lenkner continues
   to identify Claimants who may not proceed against Family Dollar.)

   Finally, on November 1, 2019, AAA published a revised filing fee schedule. One that provides for “Group” filings with
   an initial filing fee of $400 per Demand, not the $2,200 upon which you are insisting. When we first spoke, you
   acknowledged that AAA was coming out with a new fee schedule. Since the Group filing fee is now in place, the logical
   neutral thing to do is to charge Family Dollar that filing fee rather than have Family Dollar pay a higher fee. In any
   event, Family Dollar believes the revised filing fee is the applicable filing fee since compliant Demands have not yet
   been filed and Keller Lenkner’s list of Claimants changed as recently as November 8, 2019 – after the revised fee
   schedule was published.

   Let me reiterate, Family Dollar fully intends to comply with its arbitration agreements and honor its obligations. It
   requests that the AAA do the same. Please forward the Demands to the Council (or higher authority) for an
   evaluation. Once a determination is made as to whether the Demands are compliant, Family Dollar requests an
   explanation of the determination. After a determination is made, Family Dollar requests that AAA process the
   Demands in the manner required by Family Dollar’s arbitration agreement.

   Sincerely,
   Beth Hirsch Berman



   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
   Direct Dial: (757) 321-5966
   Fax Number: (757) 321-5949
   bberman@dollartree.com



   From: AAA Heather Santo [mailto:heathersanto@adr.org]
   Sent: Friday, November 08, 2019 12:11 PM
   To: Warren Postman <wdp@kellerlenkner.com>; Beth Berman <bberman@dollartree.com>
   Cc: Sean Duddy <skd@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: RE: Arbitration billing

   Dear Counsel:

   This will acknowledge receipt of Claimants’ email below.

   We have determined that Claimants have met their minimum administrative filing requirements.
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   Keller | Lenkner
   1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
   202.749 8334 | Website | Email



   From: AAA Heather Santo <heathersanto@adr.org>
   Sent: Monday, November 4, 2019 1:20 PM
   To: Beth Berman <bberman@dollartree.com>
   Cc: Warren Postman <wdp@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: RE: Arbitration billing

   Dear Counsel,

   This will acknowledge receipt of Respondent’s email dated November 2, 2019. We ask Claimants to provide their comments by
   November 6, 2019.

   Should you have any questions, please do not hesitate to contact me.

   Sincerely,

   Heather Santo




   Logo            Heather Santo
                   American Arbitration Association

                   1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                   T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                   adr.org  | icdr.org | aaamediation.org

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   reply email and destroy all copies of the transmittal. Thank you.


   From: Beth Berman <bberman@dollartree.com>
   Sent: Saturday, November 2, 2019 5:34 PM
   To: AAA Heather Santo <heathersanto@adr.org>
   Cc: Warren Postman <wdp@kellerlenkner.com>; Sara Rafal <srafal@dollartree.com>; Elaine Hogan <ehogan2@dollartree.com>
   Subject: Arbitration billing

      *** External E-Mail – Use Caution ***


   Ms. Santo,

   In your correspondence dated October 29, 2019, you stated that AAA was billing Family Dollar $2,200 for each
   of the 1209 cases that Keller Lenkner directed you to proceed with. You further stated that AAA would accept a
   $600 non-refundable fee in lieu of the $2,200 for each of those cases that the parties agree to put on hold while
   they engage in settlement discussions.

   Family Dollar’s arbitration agreement specifically provides that arbitration is commenced by a claimant filing
   his/her demand with Family Dollar. There is no provision in the Family Dollar agreement that permits the
   commencement of arbitration by a claimant filing his/her demand directly with AAA. Since the inception of
   Family Dollar’s arbitration program in 2013, the consistent practice has been that an employee claimant file
   his/her demand with Family Dollar, not AAA. That has allowed Family Dollar to determine whether a matter
   even belongs in arbitration i.e., whether the claimant worked for Family Dollar, signed an arbitration agreement,
   etc. The procedure has also permitted the parties to engage in settlement discussions when appropriate. All
   this has allowed the parties to resolve disputes without involving AAA. It is only after the parties’ attempt to
   resolve a matter was unsuccessful that a demand has been filed with AAA. In those instances, Family Dollar,
   not the claimant, has forwarded the demand, copy of the arbitration agreement and fee payment to AAA.
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   That did not occur here. Instead, Keller Lenkner filed demands directly with AAA at approximately the same
   time it filed its demands with Family Dollar in contravention of the arbitration agreement. Family Dollar has not
   sent any of those demands to AAA; as it is engaged in working through each of the demands to see which
   claims might be resolved without AAA’s involvement. In fact and as you are aware, Family Dollar has identified
   numerous claimants who did not work for it, do not have agreements to arbitrate with AAA, etc. As you are also
   aware, Family Dollar has extended settlement offers to almost 300 claimants and is in the process of preparing
   settlement offers to additional claimants. Thus, any work that AAA has done in connection with the demands
   filed by Keller Lenkner was premature and not in accordance with Family Dollar’s arbitration agreement.
   Accordingly, while Family Dollar is prepared to pay the requisite filing fee for those demands that go forward
   with arbitration, in keeping with the terms of its arbitration agreement, it believes there is no basis for AAA
   assessing a $600 filing fee for those cases that do not move forward.

   Sincerely,
   Beth Hirsch Berman




   Respectfully,
   Beth Hirsch Berman
   Deputy General Counsel, Litigation
   Dollar Tree
   500 Volvo Parkway
   Chesapeake, VA 23320
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